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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

    v.                                               No. 1:21-cr-575 (JDB)

    DAVID JOHN LESPERANCE, CASEY
    CUSICK, AND JAMES VARNELL
    CUSICK, JR.,

         Defendants.


         GOVERNMENT’S OBJECTIONS TO DEFENDANTS’ TRIAL EXHIBITS

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby provides its objections to the admissibility of certain exhibits

contained in Defendants’ exhibit list. See ECF No. 81. At the threshold, the Defendants’

submission suffers from a fundamental flaw: as of this writing, the Defendants have provided

neither the underlying materials referenced in the exhibits list nor sufficient detail to identify those

materials in the discovery files. For a large number of proposed exhibits, for example, the

Defendants offer only conclusory—sometimes unintelligible—descriptions and vague references

to “[d]iscovery” or “[e]vidence.com” as the exhibits’ source. 1 Given the volume of materials

produced in global discovery in January 6 cases, such vague descriptors and identifiers render the

Defendants’ exhibit list largely uninformative. For that reason alone, the United States respectfully

requests that its objections to all materials that cannot adequately be identified based on the

information provided by the Defendants be preserved.




1
       Moreover, for numerous exhibits, the “Source” column is left blank (or is possibly mis-
formatted to the point it is illegibility).
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        Below, the Government provides objections to categories of evidence, as well as objections

to the specific materials listed in the Defendants’ proposed exhibits, to the extent the latter is

feasible given that the Defendants’ vague descriptions and failure to provide the underlying

materials.

   I.        General Objections

        First, as the Government explained in its pending motion in limine (ECF No. 62), the

Defendants should be precluded from (1) arguing any entrapment by estoppel defense related to

law enforcement or (2) presenting any evidence of alleged inaction by law enforcement unless the

Defendants specifically observed or were otherwise aware of such conduct at the relevant time.

Ibid. Accordingly, the Government objects, pursuant to Fed. R. Evid. 401 and 403, to video,

photographic, and documentary evidence regarding the actions of law enforcement officers whose

testimony is not elicited at trial and whose conduct was not directly observed by the Defendants

on January 6, 2021. See, e.g., Exs. 4-6 (“Bodycam Footage of Officer”), Ex. 37 (“CAPITOL

POLICE FIRED EXPLODING FLASH GRENADE INTO CROWD On Jan. 6 of Men, Women,

Children”), Ex. 39 (“Rally goers walk into the Capitol – Capitol Police open the doors”), Ex. 81

(“BWC Camera Footage Foulds, Henry (11401) Title: 20210106 – RIOT – CAPITAL

BUILDING”), Ex. 82 (“BWC Camera Footage H.F. Title: 20210106 – RIOT – CAPITAL

BUILDING”), Ex. 95 (“20210106 – CAPITOL SIEGE - UNITED STATES CAPITOL Bagshaw,

Jason (6640) X6039BAL”), Ex. 97 (“BWC Camera Footage – 20210106 – FIRST AMENDMENT

800 16TH ST NW ID: 21001920, 21002550”), Ex. 98 (“open source” rumble.com video described

as relating to police allowing protestors into building), Ex. 100 (“Bodycam Footage of Officer

D.T.”), Ex. 101 (“BWC Footage – 20210106 – FIRST AMENDMENT ASSEMBLY-VERMONT

Officer T.A. X6039B98K”), Ex. 105 (“20210106 – FELONY APO/RIOTOUS ACTS – US



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CAPITOL COMPLEX Off. SS. X6039BJ8Z”); Exs. 109 and 111 (described as relating to police

removing fence barriers and letting protestors in), and Exs. 186 and 200 (USCP Jan 6 timelines).

See also Exs. 135-151 (additional proposed exhibits relating to actions of law enforcement officers

on January 6).

       Second, the Government objects under Fed. R. Evid. 401 and 802 to the introduction of

video, photographic, and documentary evidence in the form of news stories, articles, photographs,

and testimonials of non-testifying third-parties relating to the events of January 6, 2021. See, e.g.,

Ex. 3 (“[p]hotos of protestor injuries”), Ex. 36 (“Staffers Walk Out of Congress In Protest Over

Brown and Garner Cases”), Ex. 38 (“Black Bloc Enters Capitol First”), Ex. 57 (“Feds Caught, On

Video, Attacking Capitol on J6”), Ex. 58 (“Trump Supporters Stop Anarchists from Breaking US

Capitol Windows”), Ex. 75 (“Bloody guy”), Exs. 83-94, 112, 118, 128-134, 152, 154, 158-171,

205, and 208 (various open source videos or photos); Exs. 106-108 (additional “livestream” videos

and interview), Ex. 110 (described as “final_report_of_investigation_real”), and Ex. 112 (“Mob

storming the Capitol”).

       Third, the Government objects to the inclusion and admission of scores of proposed

exhibits relating to irrelevant rules, policies, procedures and events because these proposed

exhibits seek jury nullification or otherwise serve to distract and confuse the jury. See e.g., Exs.

8, 17-20, 22-27, 203 (policies and reports regarding police misconduct, use of force, body worn

cameras, less lethal weapons, munitions, tear gas and pepper spray). Defendants appear to have

included numerous exhibits relating to irrelevant law enforcement policies obtained from MPD’s

website (see e.g., Exs. 28-31 and 41-73) and Congressional rules and reports (see, e.g., Ex. 76

(HSGAC & Rules Full Report Examining U.S. Capitol Attack”), and Exs. 115-117, 119-123).

They have also included exhibits regarding the use of rubber bullets and pepper balls, neither of



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which appear to be at issue in this case. See e.g., Exs. 2 and 21 (“rubber bullets from above”), Ex.

28 (“PepperBall Catalog”). These exhibits are not relevant to the allegations raised by the

Government nor the Defendants’ defenses and are inadmissible under Fed. R. Evid. 401, 403, and

802.

         Fourth, the Government objects on the basis of Fed. R. Evid. 401, 403, and 404 to the

Defendants’ proposed character evidence. The Defendant intend to offer as evidence a “Slideshow

of Photos of Defendants & Family or Friends.” Ex. 1. But evidence of the Defendants’ character

may be offered in this case, if at all, in the form of “testimony about the[ir] reputation” or “opinion”

testimony. Fed. R. Evid. 405(a). The Defendants’ proposed “[s]lideshow[s]” fit neither bill.

         Finally, the Government objects on the basis of Fed. R. Evid. 401 and 403 to proposed Ex.

174, described only as “Frequencies DC 011822 (25098).” While the Government has not

received the actual file for this exhibit, the Government has reason to believe that this is a sound

file of high-pitched ringing sounds that was used in the United States v. Albert trial (21-cr-26

(CRC)) to demonstrate Mr. Alberts’s known and documented medical condition, tinnitus, which

is commonly described as ringing sound, roaring, or buzzing sounds. See 21-cr-26 (CRC). Here,

the Defendants have made no proffer related to any similar medical condition nor provided the

Government with any reciprocal discovery documenting such a medical condition. This exhibit is

therefore irrelevant.

   II.      Specific Objections

         Attached hereto as Exhibit A is the Government’s preliminary objections to the

Defendants’ proposed exhibits.

         As noted above, the Government reserves the right to object to the admissibility of any of

the approximately 213 proposed exhibits and to revise and supplement its objections after



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reviewing the Defendants final version of exhibits, once they are received and can be properly

identified and reviewed. The Government may also modify its objections depending on whether

the exhibits are introduced on cross-examination or in the Defendants’ case-in-chief.

Dated: July 3, 2023
                                                Respectfully submitted,

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                 Exhibit A
Government’s Preliminary Objections to
      Defendants’ June 30, 2023
                       Exhibit List
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Ex. No.      Description                                                                                               Ground for Govt Objection
           1 Slideshow of Photos of Defendants & Family or Friends                                                     FRE 401, 403, 404
             Open Source Footage of Officer misconduct                                                                 FRE 401, 403, 901
           2 rubber bullets from above 2.mp4                                                                           FRE 401, 403, 802
           3 Photos of protestor injuries                                                                              FRE 401, 403, 802
           4 Bodycam footage of Officer                                                                                FRE 401, 403
           5 Bodycam Footage of Officer                                                                                FRE 401, 403
           6 Bodycam Footage of Officer                                                                                FRE 401, 403
           8 CDU Operational Plan for the USCP                                                                         FRE 401, 403
          17 GO-PER-120.23 (Serious Misconduct Investigations)                                                         FRE 401, 403, and 802
          18 GO-RAR-901.07 (Use of Force);                                                                             FRE 401, 403, and 802
          19 GOSPT-302.13 (Body-Worn Camera Program)                                                                   FRE 401, 403, and 802
          20 RAR-901-04- Less Lethal Weapons                                                                           FRE 401, 403, and 802
          21 Firing Rubber Bullets from above.mp4                                                                      FRE 401, 403, 802
          22 RiotID_Guide_ENGLISH                                                                                      FRE 401, 403, and 802
          23 Impact_Munitions_Guide_ENGLISH                                                                            FRE 401, 403, and 802
          24 Tear_Gas_and_Pepper_Spray_Guide_ENGLISH                                                                   FRE 401, 403, and 802
          25 How to Deploy Impact Munitions - Article - POLICE Magazine (1)                                            FRE 401, 403, and 802
          26 covering_riot_control_in_the_united_states_0 (1)                                                          FRE 401, 403, and 802
          27 EO_17_002- BWCs: Serious Uses of Force, Serious Misconduct, and Critical of High-Profile Incidents        FRE 401, 403, and 802
          28 PepperBall-Catalog-2022_web                                                                               FRE 401, 403, and 802
          29 PEP-21006-Round-LIVE-Specs-120121                                                                         FRE 401, 403, and 802
          30 PEP-21006-Round-LIVE-X-Specs-120121                                                                       FRE 401, 403, and 802
          31 PEP-21006-Round-LIVE-MAXX-Specs-120121                                                                    FRE 401, 403, and 802
          32 PEP-21006-Glass-Breaker-Specs-120121                                                                      FRE 401, 403, and 802
          33 PEP-21006-VXR-LIVE-Specs                                                                                  FRE 401, 403, and 802
          34 PEP-21006-VXR-LIVE-X-Spec-Sheet                                                                           FRE 401, 403, and 802
          35 Letter from VP Pence                                                                                      FRE 401
          36 Staffers Walk Out Of Congress In Protest Over Brown And Garner Cases _NCPR News                           FRE 401, 403, and 802
          37 CAPITOL POLICE FIRED EXPLODING FLASH GRENADE INTO CROWD on Jan. 6 of Men, Women, Children                 FRE 401, 403
          38 January 6_ Black Bloc Enters Capitol First                                                                FRE 401, 403, 802
          39 THE TRUTH - Rally-goers walk into the Capitol - Capitol Police open doors                                 FRE 401 and 403
          40 Examining the Capitol Attack- A review of the security, planning, and response failures on January 6th.   FRE 401, 403, and 802
          41 120_21re- Disciplinary Procedures and Processes                                                           FRE 401, 403, and 802
          42 201_31re - Policing for Prevention: Use of High Visibility Patrol Tactics                                 FRE 401, 403, and 802
          43 EO-20-044- Comprehensive Policing and Justice Reform Second Emergency Amendment Act of 2020               FRE 401, 403, and 802
          44 GO - PER - 201.31- Policing for Prevention: Use of High Visibility Patrol Tactics                         FRE 401, 403, and 802
          45 GO–OPS–204.06- Victim/Witness Services                                                                    FRE 401, 403, and 802
          46 GO – SPT – 204.01- Media                                                                                  FRE 401, 403, and 802
          47 16-013- Senior Law Enforcement Officer Emergency Act of 2016                                              FRE 401, 403, and 802
          48 20-003- Disciplinary Procedure Updates                                                                    FRE 401, 403, and 802
          49 EO-21-013- Coronavirus 2019: Modified Phase Two of Washington, DC Reopening                               FRE 401, 403, and 802
          50 EO-22-002- Ballistic Shield Deployment                                                                    FRE 401, 403, and 802
          51 EO-22-010- Regular or Continuous Associations and Involvements                                            FRE 401, 403, and 802
          52 GO - PER - 120.23- Serious Misconduct Investigations                                                      FRE 401, 403, and 802
          53 OMA-101-00- Directives System                                                                             FRE 401, 403, and 802
          54 OMA-101-03- Organization, Authority, and Rules of the Metropolitan Police Department Reserve Corps        FRE 401, 403, and 802
          55 OMA-101-09- Duties and Responsibilities of Sworn Officials                                                FRE 401, 403, and 802
          56 OMA-101-10- Organization of the Metropolitan Police Department (MPD)                                      FRE 401, 403, and 802
          57 PER-101-12- Senior Police Officers                                                                        FRE 401, 403, and 802
          58 PER-110-11- Uniform, Equipment, and Appearance Standards                                                  FRE 401, 403, and 802
          59 OMA- 120 24- Revocation/Restoration of Police Powers                                                      FRE 401, 403, and 802
          60 PER-201-01- Non-Uniformed Assignments                                                                     FRE 401, 403, and 802
          61 GO- 201-04- Special Assignment Positions                                                                  FRE 401, 403, and 802
          62 GO- 201-11- Transfers and Changes in Assignments                                                          FRE 401, 403, and 802
          63 GO- 201-18- Detail Assignments                                                                            FRE 401, 403, and 802
          64 PER-201-26- Duties, Responsibilities and Conduct of Members of the Department                             FRE 401, 403, and 802
          65 RAR-201-36- Metropolitan Police Department Sworn Law Enforcement Officer Code of Ethics                   FRE 401, 403, and 802
          66 OMA 203 02- Displaying and Handling of the United States Flag                                             FRE 401, 403, and 802
          67 NEWSMAX_ Feds Caught, On Video, Attacking Capitol On J6                                                   FRE 401 and 403
          68 Trump Supporters Stop Anarchists from Breaking US Capitol Windows                                         FRE 401 and 403
          69 OPR Interview with Inspector Robert Glover                                                                FRE 401 and 403
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 70   OPS-301-02- Patrol Special Mission Units                                                                FRE 401, 403, and 802
 71   SPT-302-02- Radio Broadcasts and Look-outs                                                              FRE 401, 403, and 802
 72   GOC-07-05- GO-PER-120.21 (Disciplinary Procedures and Processes)                                        FRE 401, 403, and 802
 73   GOC-14-01 [GO-OMA-101.09 (Duties and Responsibilities of Sworn Officials)]                              FRE 401, 403, and 802
 74   USCP Policy and Procedures Manuals                                                                      FRE 401
 75   Bloody guy.mp4                                                                                          FRE 401, 403, 802
 76   HSGAC&RulesFullReport_ExaminingU.S.CapitolAttack                                                        FRE 401, 403, and 802
 77   PXL_20210730_151916286                                                                                  FRE 401, 402, 802
 78   RM-53211-Crowd-and-Riot-as-of-1298                                                                      FRE 401, 403, and 802
 79   579168257-3-Person-Ten-Interview-Proposed-Redactions-Gov-Suggestions-Accepted                           FRE 401, 403, 801
 80   HSC 801 02 Demonstrations Directed at Foreign Governments                                               FRE 401, 403, and 802
 81   BWC Camera Footage Foulds, Henry (11401) Title: 20210106 - RIOT - CAPITAL BUILDING                      FRE 401 and 403
 82   BWC Camera Footage H. F. Title: 20210106 - RIOT - CAPITAL BUILDING                                      FRE 401 and 403
 83   Elijah Schaffer Open Source Video                                                                       FRE 401, 403, 802
 84   Stephen Horn Open Source Video 1                                                                        FRE 401, 403, 802
 85   Stephene Horn Open Source Video 2                                                                       FRE 401, 403, 802
 86   Stephene Horn Open Source Video 3                                                                       FRE 401, 403, 802
 87   Stephene Horn Open Source Video 4                                                                       FRE 401, 403, 802
 88   Parler Video 1                                                                                          FRE 401, 403, 802
 89   Stephene Horn Open Source Video 5                                                                       FRE 401, 403, 802
 90   Ford Fischer Video 1                                                                                    FRE 401, 403, 802
 91   Ford Fischer Video 2                                                                                    FRE 401, 403, 802
 92   Stephene Horn Open Source Video 6                                                                       FRE 401, 403, 802
 93   Stephene Horn Open Source Video 7                                                                       FRE 401, 403, 802
 94   Free State Will Open Source                                                                             FRE 401, 403, 802
 95   20210106 - CAPITOL SIEGE - UNITED STATES CAPITOL Bagshaw, Jason (6640) X6039BLAL                        FRE 401 and 403
 96   https://rumble.com/vcjxnp-shocking-new-video-capitol-police-appear-to-just-let-protesters-into-buildi.htFRE 401, 403, 901
 97   BWC Camera Footage- 20210106-FIRST AMENDMENT-800 16TH ST NW ID : 21001920, 21002550 X6039BFRE 401 and 403
 98   https://rumble.com/vchzin-capitol-police-appear-to-remove-fence-barrier-containing-protestors.html FRE 401, 403, 901
 99   Photo of Stop Pence and Trump Protest Flyer                                                             FRE 401 and 403
100   Bodycam Footage of Officer D.T.                                                                         FRE 401 and 403
101   BWC Footage 20210106- FIRST AMMENDMENT ASSEMBLY- VERMONT Officer T.A. X6039B98K                         FRE 401 and 403
102   Schedule for Wednesday January 6th 2021                                                                 FRE 401
103   Hayes and Tilden Photo                                                                                  FRE 401, 403, and 802
104   Hayes and Tilden Article Wikipedia                                                                      FRE 401, 403, and 802
105   20210106-FELONY APO/RIOTOUS ACTS-US CAPITOL COMPLEX Off. S.S. X6039B98K                                 FRE 401 and 403
106   Raz_of_the_CHAZ's_Livestream_Where_He_&_His_Henchmen_Attack,_Follow                                     FRE 401, 403, 901
107   The Capitol Riot： As it Happened [_6uSYhyFao4]                                                          FRE 401, 403, 901
108   Protestor Talking about J6 1                                                                            FRE 401, 403, 901
109   Capitol_Police_Appear_to_Remove_Fence_Barrier_Containing_Protestors                                     FRE 401 and 403
110   final_report_of_investigation_real                                                                      FRE 401, 403, and 802
111   Shocking_New_Video_Capitol_Police_Appear_To_Just_Let_Protesters                                         FRE 401 and 403
112   Mob storming the Capitol                                                                                FRE 401, 403, 802
113   photo_2023-01-09_15-22-32                                                                               FRE 401
114   photo_2023-01-09_15-22-15                                                                               FRE 401
115   rules.senate.gov/rules-of-the-senate                                                                    FRE 401, 403, and 802
116   govinfo.gov/app/collection/SMAN                                                                         FRE 401, 403, and 802
117   https://www.govinfo.gov/app/details/GPO-RIDDICK-1992/GPO-RIDDICK-1992-1/context                         FRE 401, 403, and 802
118   CAPVID_00002_ABQ Raw 9 minute youtube.com watch v=oYxKioXhve0.mp4                                       FRE 401, 403, 802
119   https://www.senate.gov/legislative/cloture/clotureCounts.htm                                            FRE 401, 403, and 802
120   The Legislative Process on the Senate Floor: An Introduction                                            FRE 401, 403, and 802
121   The Office of the Parliamentarian in the House and Senate                                               FRE 401, 403, and 802
122   The Legislative Process: Overview (Video)                                                               FRE 401, 403, and 802
123   How Our Laws Are Made                                                                                   FRE 401, 403, and 802
124   https://www.senate.gov/about/powers-procedures/filibusters-cloture/resources.htm                        FRE 401, 403, and 802
125   Unknown_202101061258_WFC1012292_37363435.mpeg                                                           FRE 401, 403
126   Unknown_202101061317_WFC1012292_37365769.mpeg                                                           FRE 401, 403
127   photo_2023-01-09_14-57-19                                                                               FRE 401
128   People_at_CHAZ_Say_There_are_No_White_Supremacists_There_iCYYMFbypZ4                                    FRE 401, 403, 802
129   People Removing Barriers                                                                                FRE 401, 403, 802, 901
130   Images of blood on ground                                                                               FRE 401, 403, 802, 901
131   Video of blood on ground.mp4                                                                            FRE 401, 403, 802, 901
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132   Open Source Video Protestors 1                                                                        FRE 401, 403, 802
133   Open Source Video Protestors 2                                                                        FRE 401, 403, 802
134   Open Source Video Protestors 3                                                                        FRE 401, 403, 802
135   20210106 - FELONY RIOT - US CAPITOL Officer L.M X6039BHJ1                                             FRE 401 and 403
136   20210106 - FELONY RIOT - US CAPITOL Officer L.M X6039BHJ1                                             FRE 401 and 403
137   20210106 - FELONY RIOT - US CAPITOL Officer L.M X6039BHJ1                                             FRE 401 and 403
138   20210106 - CAPITOL SIEGE - UNITED STATES CAPITOL Officer J.B. X6039BLAL                               FRE 401 and 403
139   20210106 - CAPITOL SIEGE - UNITED STATES CAPITOL 1h 16m Officer J.B. X6039BLAL                        FRE 401 and 403
140   20210106- RIOTOUS ACTS- US CAPITAL COMPLEX Officer C.M X6039BF8M                                      FRE 401 and 403
141   20210106- RIOTOUS ACTS- US CAPITAL COMPLEX Officer C.M X6039BF8M                                      FRE 401 and 403
142   2021-01-06 uscp riot Officer D.T X6039B83Q                                                            FRE 401 and 403
143   2021-01-06 uscp riot Officer D.T X6039B83Q                                                            FRE 401 and 403
144   2021-01-06 USCP Riot-StingerOfficer D.T X6039B83Q                                                     FRE 401 and 403
145   2021-01-06 USCP riot Officer D.T X6039B83Q                                                            FRE 401 and 403
146   2021-01-06 uscp riot- SKAT Officer D.T X6039B83Q                                                      FRE 401 and 403
147   2021-01-06 USCP riot-Mechanical Officer D.T X6039B83Q                                                 FRE 401 and 403
148   HAU 3RD VIDEO - 2021-01-06 USCP RIOT ECD DEPLOYM Officer D.T X6039B83Q                                FRE 401 and 403
149   THAU 2ND VIDEO - 2021-01-06 uscp RIOT Officer D.T X6039B83Q                                           FRE 401 and 403
150   2021-01-06 USCP RIOTS Officer D.T X6039B83Q                                                           FRE 401 and 403
151   THAU 1ST VIDEO - 2021-01-06 USCP RIOTS Officer D.T X6039B83Q                                          FRE 401 and 403
152   Stop Pence Trump Photo                                                                                FRE 401, 403, 802
153   U.S. Capitol Grounds Demonstration Area Map                                                           FRE 401, 403, 901
154   Guidelines For Conducting an Event on United States Capitol Grounds_December 2019                     FRE 401, 403, 802
155   USCP-011-00055405_image                                                                               FRE 401, 901
156   IMG_4942[25530]                                                                                       FRE 401, 901
157   IMG_4944[25529]                                                                                       FRE 401, 901
158   https://rumble.com/v1iikzq-a-glitch-in-the-matrix-an-eloquent-defense-of-jan-6-protestors-by-democrat-FRE 401, 403, 802, 901
159   https://www.youtube.com/watch?v=mZ2sQax3_xo&feature=youtu.be                                          FRE 401, 403, 802, 901
160   https://www.youtube.com/watch?v=z1HB82BYR88                                                           FRE 401, 403, 802, 901
161   https://www.youtube.com/watch?v=ehpYUqoHEgg                                                           FRE 401, 403, 802, 901
162   Open source video of J6 1                                                                             FRE 401, 403, 802, 901
163   Open source video of J6 2                                                                             FRE 401, 403, 802, 901
164   Open source video of J6 3                                                                             FRE 401, 403, 802, 901
165   Open source video of J6 4                                                                             FRE 401, 403, 802, 901
166   Open source video of J6 5                                                                             FRE 401, 403, 802, 901
167   Open source video of J6 6                                                                             FRE 401, 403, 802, 901
168   Open source video of J6 7                                                                             FRE 401, 403, 802, 901
169   Open source video of J6 8                                                                             FRE 401, 403, 802, 901
170   Open source video of J6 9                                                                             FRE 401, 403, 802, 901
171   Open source video of J6 10                                                                            FRE 401, 403, 802, 901
172   5 Demonstration Permits for J6                                                                        FRE 401, 901
173   Global Discovery Letter Summary                                                                       FRE 401, 802
174   Frequencies DC 011822[25098]                                                                          FRE 401, 403, 901
175   Crosstabs DC 011822[25099]                                                                            FRE 401, 802, 901
176   Muriel Bowser Letter                                                                                  FRE 401, 802, 901
177   Jim Jordan Letter                                                                                     FRE 401, 802, 901
178   Photo regarding Nov. 7 1983                                                                           FRE 401, 403, 901
179   IMG_8281[25112]                                                                                       FRE 401, 403, 901
180   IMG_8452[25110]                                                                                       FRE 401, 403, 901
181   IMG_6860[25116], IMG_6859[25115],                                                                     FRE 401, 403, 901
182   IMG_6027[25113], IMG_6028[25114]                                                                      FRE 401, 403, 901
183   IMG_5804[25119], IMG_5805[25120], IMG_5806[25118], IMG_5807[25117]                                    FRE 401, 403, 901
184   gao-22-104829[25121]                                                                                  FRE 401, 403, 802, 901
185   DC-FirstAmendment                                                                                     FRE 401, 802
186   USCPJan.6Timeline[25122]                                                                              FRE 401 and 403
187   20220717_142552_IMG_0116[25136]                                                                       FRE 401, 403, 901
188   Devin Nunes Letter to Wray                                                                            FRE 401, 403, 901
189   IMG_4913[25123]                                                                                       FRE 401, 403, 901
190   IMG_4914[25125], IMG_4915[25124]                                                                      FRE 401, 403, 901
191   PLAW-115publ435[25139]                                                                                FRE 401, 403, 901
192   grassley_to_doj_-_failure_to_prosecute_oig_criminal_referrals[25140]                                  FRE 401, 403, 802, 901
193   04.29.22._-_comms_oag_odag_-_interim[25153]                                                           FRE 401, 403, 802, 901
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194   07.15.22._-_january_4_2021_meeting_doj_dod[25152]                    FRE 401, 403, 802, 901
195   11_05_21_call_logs_for_senior_officials_from_january_6_2021[25151]   FRE 401, 403, 802, 901
196   20221027152243533_20221027-152110-95757954-00007015[25150]           FRE 401, 403, 802, 901
197   DODIG-2022-039 V2 508[25149]                                         FRE 401, 403, 802, 901
198   gao-22-104829[25148]                                                 FRE 401, 403, 802, 901
199   MPD-001-00000034[25146]                                              FRE 401, 403, 802, 901
200   USCPJanuary-6-Timeline[25142]                                        FRE 401 and 403
201   HSEMA letter to Gen Walker 12_31_20[25141]                           FRE 401, 403, 802, 901
202   Section: 24-705 FIRST AMENDMENT ASSEMBLIES: GENERAL PROVISIONS       FRE 401, 802
203   Use of Force and Officer Injury Report                               FRE 401, 403, 802, 901
204   Several Images of Capitol under Construction                         FRE 401, 403, 802, 901
205   Image of Riots Mostly Peaceful                                       FRE 401, 403, 802, 901
206   Muriel Bowser Tweet                                                  FRE 401
207   Muriel Bowser Announcement                                           FRE 401
208   East side Open Source Video 1                                        FRE 401, 403, 802, 901
209   East side Open Source 2                                              FRE 401, 403, and 802
210   East side Open Source 3                                              FRE 401, 403, and 802
211   East side Open Source 4                                              FRE 401, 403, and 802
212   East side Open Source 5                                              FRE 401, 403, and 802
213   East Side CCTV Footage                                               FRE 401
